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 8
                                UNITED STATES DISTRICT COURT
 9
                             SOUTHERN DISTRICT OF CALIFORNIA
10
     JOSE CHAVEZ, et al.,                )              Case No.: 3:19-cv-01226-L-AHG
11                                       )
                   Plaintiffs,                          Hon. M. James Lorenz and Magistrate Judge
12                                       )              Allison H. Goddard
     v.                                  )
13                                       )              STIPULATION RE AMENDED
     ROB BONTA, in his official                         ORGANIZATIONAL PLAINTIFF
14   capacity as Attorney General of the )
                                         )              DECLARATIONS AND DEPOSITIONS,
     State of California, et al.,1                      AND LIMITATION ON EVIDENCE AND
15                                       )
                                         )              TESTIMONY
16   Defendants.
                                         )
17                                       )              Second Amended Complaint Filed: Nov. 8,
18                                       )              2019
                                         )              Third Amended Complaint Filed: Mar. 22,
19                                       )              2023
20                                       )
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26      Rob Bonta is automatically substituted for his predecessor, Xavier Becerra, as
     California Attorney General, and Allison Mendoza is automatically substituted for her
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     predecessors, former Directors Louis Lopez and Martin Horan, and former Acting
28   Directors Brent E. Orick and Blake Graham. Fed. R. Civ. P. 25(d).

           Stipulation Re Amended Organizational Plaintiff Declarations and Depositions, and Limitation on Evidence and
                                                                                                              Testimony
 1         The parties hereto, Plaintiffs Jose Chavez, et al. (“Plaintiffs”), and Defendants
 2   Rob Bonta, et al. (“Defendants”), by and through their counsel undersigned, hereby
 3   agree and stipulate as follows:
 4                                                 RECITALS
 5         WHEREAS, Plaintiffs filed the instant action on July 1, 2019, and filed the
 6   operative Third Amended Complaint (Dkt. 114) on March 22, 2023; Plaintiffs filed
 7   their Motion for Preliminary Injunction; or Alternatively, Motion for Summary
 8   Judgment on January 16, 2023 (Dkt. 103);
 9         WHEREAS, certain of the plaintiffs are organizational plaintiffs, to wit:
10   California Gun Rights Foundation (“CGF”), Firearms Policy Coalition (“FPC”), FPC
11   Action Foundation (“FPCAF”) (formerly Firearms Policy Foundation), and the Second
12   Amendment Foundation (“SAF”) (collectively, all four of which shall be referred to
13   herein as the “Organizational Plaintiffs”);
14         WHEREAS, in the Third Amended Complaint, the Organizational Plaintiffs
15   allege that they have standing to file suit, and have filed suit, on behalf of their members
16   who are under 21 years of age who wish to challenge the constitutionality of California
17   Penal Code section 27510;
18         WHEREAS, on January 16, 2023, Plaintiffs in the present case filed a Motion
19   for Preliminary Injunction; or Alternatively, Motion for Summary Judgment (Dkt. 103)
20   (“Plaintiffs’ Motion”);
21         WHEREAS, in support of Plaintiffs’ Motion, Plaintiffs relied on previously
22   submitted declarations already in the record, namely, Brandon Combs (Dkt. 21-8); and
23   Alan Gottlieb (Dkt. 21-10) on behalf of plaintiffs FPC, and SAF, respectively;
24         WHEREAS, Plaintiffs have served written responses on behalf of
25   Organizational Plaintiffs through their representatives, Brandon Combs (FPC), Gene
26   Hoffman (CGF), Jon Jensen (FPCAF), and Alan Gottlieb (SAF) to Defendants’
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          Stipulation Re Amended Organizational Plaintiff Declarations and Depositions, and Limitation on Evidence and
                                                                                                             Testimony
 1   Requests for Admission, Requests for Production of Documents, and Interrogatory
 2   Requests;
 3         WHEREAS, Defendants in the action sought to take the depositions under
 4   Federal Rule of Civil Procedure 30(b)(6) of representatives of the Organizational
 5   Plaintiffs during the fact discovery period;
 6         WHEREAS, counsel for the Parties thereafter met and conferred, and have
 7   agreed that the Plaintiffs would submit amended declarations on behalf of
 8   Organizational Plaintiff Firearms Policy Coalition and Second Amendment Foundation
 9   limited to facts Plaintiffs believe establish standing under Article III for the
10   Organizational Plaintiffs (the “Amended Declarations”);
11         WHEREAS, Plaintiffs plan to limit the evidence presented by and testimony of
12   each Organizational Plaintiff and their representatives in this action to include only
13   evidence or testimony (written or oral) regarding and relevant to facts establishing
14   standing of each of the Organizational Plaintiffs;
15         WHEREAS, in reliance upon the Parties’ agreement, Plaintiffs have prepared
16   and will serve Defendants with the Amended Declaration of Brandon Combs on behalf
17   of Organizational Plaintiff FPC, a copy of which is attached hereto as Exhibit A and
18   the Amended Declaration of Alan Gottlieb on behalf of Organizational Plaintiff SAF,
19   a copy of which is attached hereto as Exhibit B.
20         And in furtherance of the facts contained in the foregoing recitals, the Parties
21   stipulate as follows:
22                                              STIPULATION
23         1.      Plaintiffs agree that the prior declarations of Brandon Combs (Dkt. 21-8),
24   and Alan Gottlieb (Dkt. 21-10) will be withdrawn, and that Plaintiffs will no longer
25   rely upon the prior iterations of these declarations in support of their current Motion or
26   in any further proceedings in this case, including, but not limited to, for purposes of
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          Stipulation Re Amended Organizational Plaintiff Declarations and Depositions, and Limitation on Evidence and
                                                                                                             Testimony
 1   moving for or defending against a motion for summary judgment or other dispositive
 2   motion, or at trial.
 3          2.      Plaintiffs will file and serve the Amended Declarations and advise the
 4   Court that the prior declaration of Brandon Combs (Dkt. 21-8) and Alan Gottlieb (Dkt.
 5   21-10) are being withdrawn by this stipulation and replaced with the Amended
 6   Declarations of Brandon Combs and Alan Gottlieb.
 7          3.      Parties agree that any evidence or testimony offered by any Organizational
 8   Plaintiff and their representatives (written or oral) will be limited to facts, documents,
 9   communications, testimony, and/or other evidence related to and concerning the issue
10   of standing under Article III for the Organizational Plaintiffs.
11          4.      In exchange for the above, Defendants agree to forego the depositions of
12   Organizational Plaintiff representatives Brandon Combs, Gene Hoffman, Jon Jensen,
13   Alan Gottlieb, and any other Organizational Plaintiff representative, pursuant to this
14   stipulation.
15          5.      The Parties agree that nothing in this stipulation may be construed as a
16   concession by Defendants that any of the Organizational Plaintiffs satisfies the
17   requirements of Article III standing.
18          6.      The Parties agree that nothing in this stipulation may be construed as a
19   concession by Defendants that any facts appearing in Plaintiffs’ original or Amended
20   Declaration, or in any of Plaintiffs’ pleadings, Plaintiffs’ briefing, Plaintiffs’
21   declarations, or Plaintiffs’ exhibits on file in this action is true.
22          7.      The Parties agree that nothing in this stipulation may be construed as a
23   concession by Defendants that the claim presented in this action has any merit.
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25          SO STIPULATED, BY AND THROUGH THE UNDERSIGNED COUNSEL
26   OF RECORD.
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           Stipulation Re Amended Organizational Plaintiff Declarations and Depositions, and Limitation on Evidence and
                                                                                                              Testimony
 1
 2   August 18, 2023                                       Dillon Law Group, APC
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                                                           _/s/ John W. Dillon_____________
 4                                                         John W. Dillon
 5                                                         Attorney for Plaintiffs

 6   August 18, 2023                                       Rob Bonta
 7                                                         Attorney General of California
                                                           MARK R. BECKINGTON
 8                                                         Supervising Deputy Attorney General
 9                                                         S. CLINTONWOODS
                                                           Deputy Attorney General
10                                                         STEPHANIE ALBRECHT
11                                                         Deputy Attorney General

12                                                         _/s/ Jennifer E. Rosenberg_________
13                                                         Jennifer E. Rosenberg
                                                           Deputy Attorney General
14                                                         Attorneys for Defendants Rob Bonta,
15                                                         in his official capacity as Attorney
                                                           General of the State of California,
16                                                         and Allison Mendoza, in her official
17                                                         capacity as Acting Director of the
                                                           Department of Justice Bureau of
18                                                         Firearms
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         Stipulation Re Amended Organizational Plaintiff Declarations and Depositions, and Limitation on Evidence and
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